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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

UNITED STATES OF AMERICA,
                                                CR-8-150-GF-BMM
               Plaintiff,
      vs.

ANTHONY D. MELBOURNE,                                    ORDER

               Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on September 21, 2021. (Doc. 79.)

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Bad Old Man v. Arn, 474 U.S. 140,

153-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on September 20, 2021.

(Doc. 74.) The United States accused Melbourne of violating his conditions of
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supervised release 1) by using methamphetamine on three separate occasions; 2)

by to report to his probation officer as directed; and 3) by committing another

crime. (Doc. 73.)

      At the revocation hearing, Melbourne admitted to violating the conditions of

his supervised release 1) by using methamphetamine on three separate occasions;

2) by to report to his probation officer as directed. Melbourne denied alleged

violation 5. The Court dismissed alleged violation 5 on the government’s motion

(Doc. 74.) Judge Johnston found that the violations Melbourne admitted proved to

be serious and warranted revocation, and recommended that Melbourne receive a

custodial sentence of 24 months with a no supervised release to follow. (Doc. 79.)

Melbourne was advised of his right to appeal and his right to allocute before the

undersigned. (Doc. 74.) The violations prove serious and warrant revocation of

Melbourne’s supervised release. The Court finds no clear error in Judge

Johnston’s Findings and Recommendations.

      Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 79) are ADOPTED IN FULL. IT IS FURTHER

ORDERED that Defendant Anthony D. Melbourne be sentenced to the custody of

the United States Bureau of Prisons for 24 months, with no supervised release

to follow.
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DATED this 6th day of October, 2021.
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